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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                         CRIMINAL ACTION NO. 5:18-cr-00050-TBR

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.

VICTOR EVERETTE SILVERS                                                          DEFENDANT


                          MEMORANDUM OPINION AND ORDER

          Before the Court is Defendant Victor Silvers’s pro se Motion to Dismiss the Indictment

against him for lack of a speedy trial. [DN 92]. The motion is ripe for adjudication. For reasons

stated below, the Motion to Dismiss is DENIED.

     I.   Background

          Victor Silvers is before the Court charged with First Degree Murder (premeditated),

Attempted First Degree Murder (premeditated), Interstate Domestic Violence, Possession of a

Firearm by a Prohibited Person, two counts of Use of a Firearm during the Commission of a

Violent Offense, and Violation of a Protection Order. [DN 14]. The Court appointed Silvers the

representation of the Federal Public Defender. [DN 5]. The United States informed the Court that

Silvers’s case is proceeding through the Department of Justice’s Capital Review Process to

determine whether the government will seek the death penalty. [DN 87]. Parties agreed to extend

the deadlines for filing of motions that challenge the Constitutionality of the Death Penalty to

November 8, 2021. [DN 91]. Defendant now requests the Court dismiss his indictment, release

him from custody, release his property, and compensate him for his time incarcerated based on

both violations of the Speedy Trial Act and of his Sixth Amendment Right to a speedy trial. [DN




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92]. This Order is largely a reiteration of the Court’s denial of Defendant’s Motion for a Speedy

Trial, [DN 58], in a prior Memorandum Opinion and Order. [DN 67].

 II.   Discussion

       A. The Speedy Trial Act

       Silvers argues that the Court should dismiss the indictment along with his other requests

under the Speedy Trial Act. 18. U.S.C. § 3161. “The Act requires dismissal of a criminal case,

with or without prejudice, if the defendant is not tried seventy days after his indictment or the date

he first appears in court, whichever date last occurs.” United States v. Jenkins, 92 F.3d 430, 438

(6th Cir.1996). The indictment was filed on November 13, 2018, and on December 11, 2018,

Silvers entered a plea of not guilty as to all counts of the indictment. [DN 14; DN 24]. However,

the Speedy Trial Act provides multiple exceptions and exclusions to its time limits. One time

period that should be excluded in computing the time within which a trial must commence is set

forth at 18 U.S.C. § 3161(h)(7)(A):

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial. No such period of delay
       resulting from a continuance granted by the court in accordance with this paragraph
       shall be excludable under this subsection unless the court sets forth, in the record
       of the case, either orally or in writing, its reasons for finding that the ends of justice
       served by the granting of such continuance outweigh the best interests of the public
       and the defendant in a speedy trial.

Id. During telephonic proceedings held on January 10, 2019, the Court declared the case complex

and found that the interests of justice required a continuance pursuant to 18 U.S.C.

§§ 3161(h)(7)(B)(i), 3161(h)(7)(B)(ii), and 3161(h)(7)(B)(iv). [DN 26]. The Court has repeatedly

recognized in further proceedings on the record that the case has been declared complex, and thus,

the ordinary seventy-day deadline for commencement of trial under the Speedy Trial Act does not

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apply. [DN 34; DN 36; DN 38; DN 39; DN 43; DN 52; DN 55; DN 62; DN 68; DN 69; DN 78;

DN 82; DN 85; DN 89].

         Silvers argues that, as of September 1, 2021, eighty-five (85) days could be considered

“non-excludable” and therefore he is entitled to dismissal. [DN 92]. He calculates this number by

using the dates October 15, 2018 to December 11, 2018 (fifty-seven days) and July 9, 2021 to

August 6, 2021 (twenty-eight days). Id. First, “[t]he plain language of the [Speedy Trial Act]

requires a not guilty plea to begin the clock running.” United States v. Sutton, 184 F. Supp. 3d 503

(E.D. Ky. 2016), aff'd, 862 F.3d 547 (6th Cir. 2017) (citing United States v. O'Dell, 154 F.3d 358,

360 (6th Cir.1998)). This means that his calculations should start December 11, 2018, the day

Silvers pleaded not guilty, not October 15, 2018, the date of his arrest. [DN 14; DN 4]. That would

eliminate the first fifty-seven (57) days of Silvers’s calculation, but even including the time

between December 11, 2018 and January 10, 2019, the date that the case was declared complex,

only about fifty-eight (58) days in the Speedy Trial period have elapsed. [DN 26]. That is the thirty

days (30) between his not guilty plea and the date the Court declared the case complex and the

twenty-eight (28) days between July 9, 2021, and August 6, 2021, which is below the seventy-day

requirement. Thus, the motion to dismiss is denied because seventy includable days have not

passed    since   Silvers’s   nonguilty   plea.   See   United   States   v.   Saeed-Watara,     No.

CRIM.A.3:09CR118H, 2009 WL 4782735 (W.D. Ky. Dec. 9, 2009).

         To decrease the number of eligible days even further, on July 9, 2021, after a telephonic

proceeding held on July 2, 2021, where “the parties indicated that the instant case may be re-

presented to the United States Department of Justice Capital Review Committee for reevaluation

of whether the government will seek the death penalty” the Court urged “the defense to move as

expediently as possible” if it wanted to “re-present the case to the Capital Review Committee.”



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[DN 87]. Though the order did not explicitly state that the period to do so was excluded from the

time allowed for a speedy trial, the Court finds that “the ends of justice served by granting of such

continuance outweigh the best interests of the public and the defendant in a speedy trial.” 18 U.S.C.

§ 3161(h)(8)(B)(iv). As discussed above, the Court has repeatedly declared the case complex and

unable to use the standard seventy-day requirement. Additionally, based on the same telephonic

proceedings, the Court filed a Scheduling Order for the remainder of the case, which included the

date for trial. [DN 88]. Subsequently, just one day before the present motion was filed and upon

the Defendant’s request, the Court granted an extension for filing of motions challenging the

Constitutionality of the Death Penalty to November 8, 2021. [DN 91].

       It remains true that this case is complex and the ordinary statutory timeline for proceeding

to trial is inapplicable. The factors enumerated at 18 U.S.C. §§ 3161(h)(7)(B)(i), 3161(h)(7)(B)(ii),

and 3161(h)(7)(B)(iv) support this conclusion. The complexity of the case has warranted additional

time for counsel’s preparation for pretrial and trial proceedings and failing to grant that additional

time would result in the miscarriage of justice. Not only is the case a death eligible prosecution

subject to the Attorney General’s review, but it also involves voluminous discovery and complex

forensic reports including DNA, fingerprint, and ballistics analysis. [DN 60 at 7]. As the

government states, “neither party has been able to adequately prepare for trial . . . Defense has

routinely requested additional time to review the evidence, meet with their client, and confer with

the United States as to potential outcomes.” Id.

       The Court has regularly conducted status conferences to aid the progress of this case.

Defendant has regularly agreed to exclude that time for purposes of the Speedy Trial Act. While

there has been a significant delay in this case, the delay is justified as multiple proceedings have

been conducted, several initiated by Defendant, in furtherance of preparing this case for trial. As



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stated above, the ends of justice served by continuance of the trial date outweigh the best interests

of the public and the defendant in a speedy trial. Specifically, the case is so complex, in view of

the nature of the prosecution and the amount and type of discovery involved, that adequate

preparation for pretrial proceedings and for trial could not have been and cannot be reasonably

done within the Speedy Trial Act's ordinary time limits. The Court has set a trial date for June 27,

2022; dismissal for Speedy Trail Act reasons before that date for would be improper.

       B. Sixth Amendment Right to a Speedy Trial

       In addition to raising the Speedy Trial Act in his motion, Silvers also asserted that his Sixth

Amendment speedy trial right has been violated. [DN 92]. The Sixth Amendment to the United

States Constitution provides, in relevant part: “In all criminal prosecutions, the accused shall enjoy

the right to a speedy and public trial.” In determining whether a defendant’s right to a speedy trial

under the Sixth Amendment has been violated, the Court looks to the four factors set forth by the

Supreme Court in Barker v. Wingo: (1) the length of the delay; (2) the reason for the delay; (3) the

defendant’s assertion of his right; and (4) prejudice to the defendant. 407 U.S. 514, 530–33 (1972).

The Supreme Court refined the speedy trial violation analysis in United States v. Doggett, requiring

that courts also balance “whether delay before trial was uncommonly long, whether the

government or the criminal defendant is more to blame for that delay, whether, in due course, the

defendant asserted his right to a speedy trial, and whether he suffered prejudice as the delay’s

result.” 505 U.S. 647, 651 (1992). The Sixth Circuit has recognized that “[n]one of these factors

alone is enough to establish a violation and the court is to conduct a balancing analysis that

considers each of these factors along with such other circumstances that may be relevant.” United

States v. Gardner, 488 F.3d 700, 719 (6th Cir.2007).




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        The Court recognizes that the length of delay in Silvers’s trial has been considerable.

Silvers was first brought before the Court on October 15, 2018, and his trial date is set for June 27,

2022. However, the Supreme Court noted in Doggett that while lower courts have generally found

“postaccusation delay” of a year or more presumptively prejudicial, the one-year mark “simply

marks the point at which courts deem the delay unreasonable enough to trigger the Barker

enquiry.” 505 U.S. at 671, n.1 (citations omitted). Thus, although the first Barker factor weighs in

Silvers’s favor, it does not establish a Sixth Amendment violation on its own.

        As to the reason for the delay and who is to blame for it, the government asserts that “the

delay in this case is primarily due to the length of time it took in order to complete discovery . . .

the defendant was arrested on the same day that the investigation began . . . the present case was

reactive from its inception.” [DN 60 at 7]. As the Court also recognized above, the volume and

type of discovery at issue has increased the burden on counsel in their preparations. The

government has also pointed out that defense counsel has requested additional time to prepare and

review discovery during the pendency of the action. Id. at 5. Moreover, Silvers is charged with a

death eligible offense, the case has been declared complex, and the Court agrees with the

government that “defendant would likely be prejudiced if he were required to proceed to a death

eligible trial without the benefit of reviewing all of the evidence against him.” Id. at 7. The Court

notes that while the prosecution has been delayed in part by the Department of Justice’s Capital

Case Review Process, the government’s internal review of Silvers’s case is intended to benefit him

rather than impose hardship.1 Further, extensions have been granted for Defendant to file

constitutionality challenges to the death penalty. [DN 91].


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  See U.S. Department of Justice, Justice Manual, § 9-10.030 (“Purposes of the Capital Case Review Process: The
review of cases under this Chapter culminates in a decision to seek, or not to seek, the death penalty against an
individual defendant. Each such decision must be based upon the facts and law applicable to the case and be set
within a framework of consistent and even-handed national application of Federal capital sentencing laws. Arbitrary

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        Silvers argues in his motion that “[e]verything that the government has done post-

investigation, should be considered as [sic] ‘deliberate attempt[s]’” to hamper the defense. [DN

92]. He asserted that the delays were a “psychological yet very effective tactic employed by the

government to influence and increase [his] anxiety and concern.” Id. The Court respectfully

disagrees. Each extension of time, both by the government and the defense counsel, have been to

ensure that Silvers is granted a just and fair trial. The seriousness of the alleged crime, in

combination with the potential for capital punishment, make this a complex case for both parties

that the court must deliberately safeguard to ensure it is executed properly. To do so, a speedy trial

of seventy days, is not plausible. In addition to these considerations, the coronavirus pandemic has

slowed court proceedings and operations across the country since early 2020. Mr. Silvers’s case is

no exception. Thus, Court finds that the reason for the delay is primarily the complexity of the

case, and the blame for the delay is shared by both parties and the global pandemic. As such, the

second Barker factor weighs against relief.

        As to the defendant’s assertion of his right to a speedy trial, Silvers earlier filed a motion

asking the Court to replace his appointed counsel because he disagreed with her decision to refrain

from filing a motion for a speedy trial. [DN 31]. The Court denied the motion as moot for reasons

stated on the record in camera/ex parte. [DN 37]. Silvers directly asserted his right to a speedy

trial in his motion filed on July 17, 2020. [DN 58]. However, as stated in the Court’s order

following telephonic proceedings on January 10, 2019, defense counsel agreed that the case should

be declared complex and that a continuance should be granted. [DN 26]. Additionally, the current

motion to dismiss was filed pro se by the Defendant only a day after the Court granted the



or impermissible factors—such as a defendant’s race, ethnicity, or religion—will not inform any stage of the
decision-making process. The overriding goal of the review process is to allow proper individualized consideration
of the appropriate factors relevant to each case.”) (emphasis added).

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Defendant’s motion for an extension of time to file his constitutional challenges. [DN 91; DN 92].

Thus, it appears to the Court that defense counsel and the defendant are at odds on whether the

defense should be filing motions regarding the defendant’s right to a speedy trial. Even though the

defendant has asserted his right to a speedy trial, the Court does not find that the third Barker factor

weighs in favor of relief given Silvers’s disagreement with his counsel on the matter.

       Finally, as to prejudice to the defendant, the Supreme Court provided the following

guidance for analysis:

       Prejudice, of course, should be assessed in the light of the interests of defendants
       which the speedy trial right was designed to protect. This Court has identified three
       such interests: (i) to prevent oppressive pretrial incarceration; (ii) to minimize
       anxiety and concern of the accused; and (iii) to limit the possibility that the defense
       will be impaired. Of these, the most serious is the last, because the inability of a
       defendant adequately to prepare his case skews the fairness of the entire system.


Barker, 407 U.S. at 532. Regarding the third interest, the Court does not find that the defense will

be prejudicially impaired by Silvers’s incarceration. As to the first interest, the Court does not find

that Silvers’s pretrial incarceration is oppressive. The severity of the charges alleged against

Silvers and the Magistrate Judge’s finding that there are no conditions or combination of

conditions of release that would reasonably assure the safety of the community or assure the

defendant’s appearance as required reiterates the Court’s finding that Silvers’s incarceration is not

oppressive. [See DN 29]. Finally, while the Court does not doubt Silvers’s anxiety and concern,

and is sympathetic to the difficulties he is facing, the other prejudice factors weigh against relief.

Therefore, the fourth Barker weighs against Silvers’s Sixth Amendment speedy trial claim. As

with Silvers’s Speedy Trial Act argument, considered above, the Court finds that Silvers’s

constitutional speedy trial challenge must fail.




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III.    Conclusion

        For the reasons state above, Defendant’s Motion to Dismiss Indictment, DN 92, is

DENIED.



IT IS SO ORDERED.




                                                     October 6, 2021




cc: counsel




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